Case 1:12-cv-01817-EGS Document 26 Filed 12/16/13 Page 1 of 4

THE`UNITED STATES DISTRICT COURT § § § § §§
FOR THE DISTRICT OF COLUMBlA ' " §*“* "'

  

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THE INSURANCE COMPANY OF THE
STATE OF PENN SYLVANIA7 as subrogee of
Union Investment Real Estate GmbH,

Plaintiff,
Case: l : l 2-cv-Ol 81 7-EGS
vs.

INDUSTRIAL STEAM CLEANING, INC.
d/b/a GREASEBUSTERS, et. al.,

Defendants.

 

 

STIPULATION AND C()NSENT ORDER OF DISMISSAL WITH PREJUDICE

COME NOW, the Parties, THE INSURANCE COMPANY OF THE STATE OF
PENNSYLVANIA AS SUBROGEE OF UNION INVESTMENT REAL ESTATE GMBH
("ICSOP”), INDUSTRIAL STEAM CLEANING, INC., INDUSTRIAL STEAM CLEANING,
INC., D/B/A GREASEBUSTERS (together, “ISC"`)7 and SIMPLEXGRINNELL, LP (“SG"")
(collectively, the "Parties”), by counsel, hereby jointly stipulate and agree, pursuant to Fed. R.
Civ. P. 41 that:

Whereas, ICSOP filed the above-captioned case on or about November 8, 2012
(“Action”); and

Whereas, ISC and SG filed cross-claims against one another on or about April l, 2013
and April 3, 2013, respectively; and

Whereas, the Parties have come to an agreement on confidential terms which fully and
finally resolves the allegations asserted in the Action and all cross-claims thereto without any

admission of Wrongdoing as to any Party;

Case 1:12-cv-01817-EGS Document 26 Filed 12/16/13 Page 2 of 4

Whereas, based on that agreement, the Parties now desire to dismiss this matter with
prejudice and to forever relinquish her right to any claim alleged or that could have been alleged
against each other;

Accordingly, the Parties jointly request and agree to the dismissal of the above-captioned

United States District Judge

Action, and all cross-claims thereto, with prejudice

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lNSURANCE COMPANY OF THE STATE OF
PENNSYLVANIA, AS SUBROGEE OF UNION
INVESTMENT REAL ESTATE GMBH

/s/
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INDUSTRIAL STEAM CLEANING, lNC., AND
INDUSTRIAL STEAM CLEANING, INC.,
D/B/A GREASEBUSTERS

By Counsel:
/s/

Joshua M. Hoffman, Esquire (Bar No. 495390)
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Case 1:12-cv-01817-EGS Document 26 Filed 12/16/13 Page 3 of 4

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Case 1:12-cv-01817-EGS Document 26 Filed 12/16/13 Page 4 of 4

CERTIFICATE OF SERVICE
l HEREBY CERTlFY that a true and accurate copy of the foregoing Stipu]ation and
Cc)nsem Order of Dismissal with Prejudice was served via the Court’s Cl\/l/ECF online filing

system, which will forward an electronic copy of said filing to the counsel of record, this 13th day of

December, 2013.

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Joshua M. Hoffman

 

